         Case 4:23-cv-00593-BRW Document 24 Filed 03/18/24 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              EASTER DISTRICT OF ARKANSAS
                                   CENTRAL DIVISION

TEYLER L. BATTLES                                                                    PLAINTIFF

vs.                                 CASE NO.4:23-CV-593-BRW

SHELTER MUTUAL INSURANCE COMPANY                                                   DEFENDANT

                               MOTION FOR SUMMARY JUDGMENT

       COMES NOW Defendant Shelter Mutual Insurance Company (“Shelter”), by and

through its attorneys, Matthews, Sanders & Sayes, P.A., and for its Motion for Summary

Judgment, states:

       1.      Shelter moves for summary judgment on Plaintiff’s Complaint for underinsured

motorist (“UIM”) coverage, breach of contract, and damages.

       2.      There is no coverage under the Policy for UIM benefits because the Plaintiff does

not meet the Policy’s definition of an “insured” and, therefore, Shelter is entitled to summary

judgment as a matter of law with respect to Plaintiff’s claims for entitlement to UIM benefits,

and damages for breach of contract, statutory penalties and attorney’s fees.

       3.      The following Exhibits in support of Shelter’s Motion are attached hereto and

incorporated by reference:

                    a. Exhibit A – Automobile Declarations and Policy;

                    b. Exhibit B – Correspondence from Shelter dated January 4, 2021;

                    c. Exhibit C – Certified Title, Registration, and Lien Information; and

                    d. Exhibit D – CarFax Report.
         Case 4:23-cv-00593-BRW Document 24 Filed 03/18/24 Page 2 of 2



                                                      Respectfully submitted,

                                                      Matthews, Sanders & Sayes, P.A.
                                                      825 West Third Street
                                                      Little Rock, AR 72201
                                                      PH 501-378-0717 | FX 501-375-2924
                                                      msayes@msslawfirm.com
                                                      jsayes@msslawfirm.com

                                                By: Mel Sayes_________________________
                                                    MEL SAYES ABN 77120
                                                    JAMES T. SAYES ABN 2011191


                                   CERTIFICATE OF SERVICE

         I, MEL SAYES, hereby certify that on this 18th day of MARCH, 2024, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF System which will send notification of such
filing to the attorneys for the parties as follows:

Mr. John Ogles                                    Mr. Gene D. Adams, Jr.
Ogles Law Firm, P.A.                              Rice, Adams & Woodruff
200 S. Jeff Davis                                 501 W. Main Street
P.O. Box 891                                      Jacksonville, AR 72076
Jacksonville, AR 72078                            gadams@rice-adams.com
jogles@aol.com


                                                      Mel Sayes
                                                      MEL SAYES
